                                                      U.S. Department of Justice

                                                      Civil Division, Torts Branch
                                                      Environmental Tort Litigation

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VIA EMAIL                                                            April 21, 2025

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        Re:     Camp Lejeune Water Litigation
                Documents related to Drs. Hennet and Spiliotopoulos

Counsel:

I am writing in response to your April 16, 2025, letter regarding certain materials requested by
document subpoenas accompanying the deposition notices directed to the United States’ Phase I
experts, Drs. Remy Hennet and Alex Spilitopoulous. I am also writing to follow-up about the
status of outstanding materials that have yet to be produced from Mr. Maslia and Dr. Konikow.

SSPA Billing Records Related to CLJA

The United States disagrees that Plaintiffs are “entitled to billing records that identify the number
of hours each testifying expert worked each day and describe the work that was performed, to the
extent these records exist.” Fed. R. Civ. P. 26(a)(2)(vi) & 26(b)(4)(C)(i) require the production
of “a statement of the compensation to be paid for the study and testimony in the case” and
communications that “relate to compensation for the expert’s study or testimony.” District
courts within the Fourth Circuit have interpreted these provisions narrowly. See, e.g., Norman v.
Leonard's Express, Inc., 2023 WL 3244002 at *6 (W.D. Va. May 4, 2023) (“Dispositively, it
lists the hourly rates for Dr. Richmond's services. Because Rule 26 requires a statement of the
compensation ‘to be paid’ to an expert—as opposed to the amount ‘paid to date’—and the
compensation disclosure is necessarily to be made at the time the expert's report is disclosed—as
opposed to at the time of trial—the defendants have satisfied Rule 26 by producing to Norman
the fee schedule.”) (internal citations omitted); Seaman v. Duke University, 2018 WL 1441267,
at *8 (M.D. N.C. Mar. 21, 2018) (“Here, based on the above authority, the Court finds Plaintiff's
first two requests—for the total amount Analysis Group has billed in connection with this case



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and a breakdown of the proportion of Analysis Group's bills that are attributed to Dr. Cremieux's
work—are sufficiently narrow and consistent with the Rule's intent.”); Océ North America, Inc.
v. MCS Services, 2011 WL 13217472, at *8 (D. Md. Sept. 9, 2011) (“To the extent it has not
done so already, Océ should produce for each of its named experts a statement of the total
compensation paid for their ‘study and testimony in the case.’ The court finds, however, that
DeFazio has not articulated a compelling need for production of every monthly invoice or other
document describing or concerning fees. Disclosure of Océ's experts' total compensation will
adequately enable defendants to explore the experts' financial interest in this case on cross-
examination.”).

Here, the United States has more than complied with Fed. R. Civ. P. 26(a)(2)(vi) &
26(b)(4)(C)(i) and Fourth Circuit case law interpreting these provisions. Specifically, the United
States has produced (1) information about the hourly rates of Drs. Hennet and Spilitopoulous and
(2) invoices that reflect total compensation paid to S.S. Papadopulos & Associates related to
work performed by or at the direction of Drs. Hennet and Spilitopoulous in the CLJA litigation.
The produced invoices identify the employee type or title of each SSPA billing professional,
including Dr. Hennet as “Senior Principal” and Dr. Spilitopoulous as “Senior Hydrologist.”
However, to avoid an unnecessary discovery dispute, the United States is working to gather and
produce more detailed, timekeeping records related to the invoices already produced.

SSPA Billing Records Related to Past Camp Lejeune Litigation

The United States disagrees with Plaintiffs’ characterization of the United States’ objections to
producing “compensation records related to work performed by SSPA for DOJ prior to August
2022.” The specific document requests at issue in Plaintiffs’ subpoena were overly broad,
unduly burdensome, and sought documents and information not proportional to the needs of the
case. Specifically, Request No. 6 sought “[a]ll bills, invoices, or other documents relating to
payments from the United States or any of its agencies to you, S.S. Papadopulos, or any
principals or agents of S.S. Papadopulos relating in any way to Camp Lejeune water
contamination, the CLJA litigation, remediation related to Camp Lejeune or any other water
quality issues related to Camp Lejeune from 2004 through the present.” Request No. 7 sought
“[a]ll timekeeping and billing records related to time that you, S.S. Papadopulos, or any
principals or agents of S.S. Papadopulos spent working on any projects related to Camp Lejeune
and the CLJA litigation from the time you or your employer first were retained, hired or
contracted.” These Requests sought extensive documentation over a 20-year period dating back
to 2005 related to past Camp Lejeune litigation involving distinct and separate issues.

Fed. R. Civ. P. 26(a)(2)(B)(vi) requires a retained testifying expert to disclose “a statement of the
compensation to be paid for the study and testimony in the case,” and district courts within the
Fourth Circuit have interpreted this provision narrowly. Plaintiffs cite Burris v. Ethicon, Inc.,
2019 WL 13185497 (S.D. W.V. Nov. 7, 2019). In that case, the district court required
production of “basic documentation reflecting the expert’s income from acting as an expert
witness [in prior related litigation].” Id. at *1 (emphasis added). Likewise, in Bilenky v. Ryobi
Ltd., the district court limited production of past expert compensation “to Mr. Nielsen’s expert-



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related income earned on behalf of Husqvarna during the last three years.” 2014 WL 12591078,
at *4 (E.D. Va. Oct. 22, 2014) (emphasis added). To avoid an unnecessary discovery dispute,
the United States is working to determine if and to what extent compensation information or
documents still exist related to SSPA’s work for DOJ in past Camp Lejeune litigation. The
United States will supplement its production with “basic” compensation information or
documents related to SSPA’s work for DOJ in past Camp Lejeune litigation to the extent it
exists.

2005 ATSDR Expert Panel Notes

The United States disagrees that “Dr. Spiliotopoulos’s notes, memoranda and any related
documents regarding his attendance at the 2005 ATSDR Expert Panel meeting are not protected
work product and must be produced.” The work product doctrine protects “(1) documents or
tangible things; (2) prepared in anticipation of litigation or trial; and (3) by or for the party or the
party’s representative.” U.S. v. Bertie Ambulance Service, Inc., 2015 WL 3932167, at *3 (E.D.
N.C. June 15, 2015) (Jones, J.); see also Fed R. Civ. P. 26(b)(3)(A) (“Ordinarily, a party may not
discover documents and tangible things that are prepared in anticipation of litigation or trial by
or for another party or its representative… .”). Fed. R, Civ. P. 26(b)(4)(B) extends the work
product doctrine to draft reports of retained experts. To overcome the work product protection,
the discovering party must show that it “has substantial need for the materials to prepare its case
and cannot, without undue hardship, obtain their substantial equivalent by other means.” Fed. R.
Civ. P. 26(b)(3)(A)(ii).

As you know, Dr. Spiliotopoulos testified that “In 2005 Gordon Bennet and Remy Hennet asked
me to attend the meeting…and provide them with information about that.” Spiliotopoulos Dep.,
115:18-21. Furthermore, Dr. Hennet testified that “In 2005 I was involved in work for the
Department of Justice on issues at Camp LeJeune that it had nothing to do with this case. It was a
different case or different cases. And that's what I recall.” Hennet Dep., 29:17-21. Contrary to
Plaintiffs’ assertion that “Dr. Spiliotopoulos had not been retained as an expert at that time…,”
Drs. Spiliotopoulos’ and Hennet’s testimony in this case make clear that Dr. Spiliotopoulos was
working with, and under the direction of, the United States’ retained experts at that time in
anticipation of litigation. The United States has identified multiple prior cases in which Dr.
Hennet went on to submit declarations or expert reports. Accordingly, the United States
maintains that any notes taken by Dr. Spiliotopoulos in attending the 2005 ATSDR Expert Panel
are protected by the work product doctrine. Deangelis v. Corzine, 2016 WL 93862 at *4 (S.D.
N.Y. Jan. 15, 2016) (“The CFTC’s arguments as to why these documents are not drafts are
unconvincing. First, its claim that ‘notes, summaries, memoranda, and other materials created by
an expert or the expert’s assistants in connection with drafting a[n] expert report’ cannot be
considered ‘drafts’ proves too much.”). Plaintiffs have failed to articulate a substantial need for
these notes in light of the millions of pages of documents produced and dozens of depositions
taken in the litigation.




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CLJA Site-Visit Notes from Dr. Spiliotopoulos

The United States confirms that Dr. Spiliotopoulos searched his records and that he does not
have any “interview notes” or “summaries” from his site-visit to Camp Lejeune.

Morris Maslia’s Supplemental Calculations & Notes

During Mr. Maslia’s March 14, 2025, deposition, he testified that he had performed additional
calculations at some point after Dr. Konikow’s rebuttal report was disclosed. Maslia Dep.
(3/14/25), 38:2-42:1; 52:20-54:15. Mr. Maslia specifically testified to creating notes reflecting
these calculations related to the geometric bias of ATSDR’s water model for Tarawa Terrace.
Id. The United States requested production of these notes at Mr. Maslia’s deposition, but they
have yet to be produced. The United States again requests production of these notes.

Leonard Konikow’s Invoices

During Dr. Konikow’s February 25, 2025, deposition, he testified that he had not yet submitted
his invoice for January 2025. Konikow Dep., 66:22-67:15. The United States requested that
when the invoice was completed and issued to Plaintiffs’ counsel, a copy of the invoice be
produced. Id. This invoice has yet to be produced. The United States again requests production
of this invoice and any additional invoices issued since Dr. Konikow’s deposition.

                                                             Very Truly Yours,

                                                             /s/ Haroon Anwar

                                                             Haroon Anwar
                                                             Trial Attorney
                                                             U.S. Department of Justice
                                                             Environmental Tort Litigation

cc:       Plaintiffs’ Leadership Group




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